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                               U N ITED STA TES D ISTRICT CO UR T
                               SO UTHERN D ISTRICT OF FLOR ID A

                 CA SE N O .17-81261-ClV -D IM ITRO U LEA S/M ATTH EW M AN

   ALL-TA G CO R.P.,                                                                         .v
                                                                                              .'



                 Plaintiff,                                    F:iLED BY           .    .   D.c-   .




                                                                      MAï 1j 2218
                                                                      ANGEM                        !
   CH ECK PO INT SY STEM S,IN C.,                                    GLERK E.NOBLE
                                                                     s    U S DISI CI
                                                                       D.oF/a .-w.R:,
                                                                      ..

                 D efendant.


   OR DER RESO LV IN G CH E CK PO INT 'S M O TIO N TO C O M PEL N O N -PA RTY BEST
   SECURITY ACOUISITION.LLC TO PRO DUCE ALL DO CUM ENTS RESPONSIVE
      TO SUBPOENA AND INCORPOM TED M EM ORANDUM O F LAW lDE 971

         ThiscausecamebeforetheCourtuponCheckpointSystems,lnc.'sCdcheckpoinf')M otion
  to Com pelN on-pal'
                    ty Best Security A cquisitionsLLC to Produce A l1D ocum ents Responsive to

  SubpoenaandIncorporatedM emorandum ofLaw (theksM otion'')gDE 971.TheCourtisadvised
  that Checkpoint Systems,lnc.(ilcheckpoinf') and Best Security Acquisition, LLC (ttBest
  Security'')haveresolvedallissuesraisedinCheckpoint'sM otion.Accordingly,itisORDERED
  and A DJU D GE D asfollow s:

                By M ay 15,2019,Best Security w illconduct a thorough and diligent search and

  produce docum ents to Checkpoint and A ll-Tag that establish that Best Security installs and

  services EA S system snationw ide,to the extentsuch a docum entexists;

                By June 14,2019,B est Security w illproduce annualsales totals for each of the

  followingproductcategoriesperyearfortheperiodof2012tothepresent:(i)RF labels,(ii)hard
  tags,(iii)CCTV,(iv)EAS servicing,and(v)towersand deactivators;
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          3.     ByJune 14,2019,BestSecurity willidentifythecustomersthatpurchasedproducts

  in each ofthe above categories forthe period of2012 to the present;

         4.      The parties will evaluate the aforem entioned inform ation received from Best

  Security and w illdeterm ine ifany furtherinform ation isnecessary.ln the eventany furtherdispute

  arises,the parties'counselshallpersonally confer in an effortto resolve any issues before filing

  any additionalm otion.A nd,ifan additionalm otion isnecessary on this issue,itshallbe filed in a

  tim ely m am zer.

          5.     The parties confirm ed that Best Security m ay produce its docum ents and

  inform ation as H ighly Confidential - Attorneys' Eyes Only pursuant to the Protective Order

  entered in thiscase ifso w arranted.

                 In lightof the resolution ofthis issue,the hearing scheduled solely in regards to

  D efendant's M otion to Com pel N on-party Best Security A cquisition, LLC to Produce A 11

  DocumentsResponsiveto SubpoenaandlncorporatedM emorandum ofLaw (the'dM otion'')gDE
  971forMay 15,2019isherebyCANCELLED.
                 The Clerk isdirected to m aila copy ofthisO rderto counselforBestSecurity,Eric

  H orbey of Lazer,A ptheker,Rosella & Y edid,P.C.,515 N .Flagler D rive,Suite 400,W estPalm

  Beach,FL 33401.A dditionally,counselforD efendantisO R D ERED to em ailacopy ofthisO rder

  tocounselforBestSecurityathorbey@ larypc.com.
          D ON E A N D O R DER ED in Cham bers,atW estPalm Beach,Palm Beach County,Florida,

  this/( dayofMay,2019.
                                                         *.
                                                              .


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                                              UN ITED STA TES M A GISTR ATE JU D GE




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